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                                                             Exhibit A to the Complaint
Location: Pottstown, PA                                                                                IP Address: 96.245.38.149
Total Works Infringed: 72                                                                              ISP: Verizon Fios
 Work           Info Hash                                  UTC                 Site                Published         Registered    Registration
 1              42AD7782B831F79FB81A5A7C1198E6F706917095         01/08/2025    Blacked Raw         01/24/2022        02/14/2022    PA0002335489
                                                                    20:12:57
 2              B62B912FD6115BF708DD6657A1A265396262F098         01/08/2025    Vixen               01/26/2024        02/13/2024    PA0002454776
                                                                    19:59:07
 3              76A08718A08340ED674E47FE5D65D66E527D6AE8         12/24/2024    Blacked             03/16/2018        04/12/2018    PA0002091582
                                                                    14:30:02
 4              BAADF217A7AA832D1E183F5B873C424426055FC3         11/29/2024    Vixen               11/22/2024        12/13/2024    PA0002506262
                                                                    15:38:39
 5              4DED850C079DD9238541B4714477E99653C40402         11/29/2024    Blacked             10/22/2018        11/25/2018    PA0002136653
                                                                    15:32:22
 6              29926d35c60c3966e178f26ed84e25fdd717fc3b         11/22/2024    Vixen               11/15/2024        12/13/2024    PA0002506276
                                                                    16:45:45
 7              97F89BE55BD240D9FCD7F355C57AD0D85E1E3C5D         11/08/2024    Blacked Raw         08/12/2024        09/17/2024    PA0002490352
                                                                    14:52:21
 8              0C8CDB6F474489EDFA498685AA06B76E643EEABD         11/08/2024    Blacked Raw         11/04/2024        11/18/2024    PA0002501000
                                                                    14:49:11
 9              7BCF5DD8FF98DB562425AC9215643C8F46F10E10         11/08/2024    Blacked             10/30/2024        11/18/2024    PA0002501014
                                                                    14:39:07
 10             e14cf8bf78c0e2735198916459bd6b87f1b32be5         10/17/2024    Blacked             12/30/2023        01/16/2024    PA0002449507
                                                                    05:37:13
 11             7068abfa451587e08562ebde78789c1017ad30cb         10/09/2024    Blacked Raw         02/12/2024        03/12/2024    PA0002459230
                                                                    11:33:43
 12             d6e75439b66d4b37cf95ef54d42fd876dab7bf4f         10/07/2024    Tushy               12/17/2023        01/16/2024    PA0002449494
                                                                    17:44:43
 13             ac9d255b19f23c7ec3ff0037a4612b41f593db8b         10/01/2024    Vixen               09/16/2022        10/05/2022    PA0002373762
                                                                    18:29:02
 14             bfae234339bbe35d844a4ee4133c90406df7b3e8         09/07/2024    Vixen               09/30/2022        10/31/2022    PA0002377819
                                                                    02:37:52
 15             c57307afa24df42fe9d23b22f5b4c95895058cb9         09/04/2024    Tushy               06/30/2024        07/15/2024    PA0002480674
                                                                    17:05:08
 16             5d69bc93d3a194ea942cac720eb78042798a46ff         09/04/2024    Blacked             05/13/2024        06/18/2024    PA0002476744
                                                                    04:44:31
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Work   Info Hash                                  UTC                 Site                 Published         Registered   Registration
17     13847d961a3acf46329478109f8f8f9571d3a447         09/03/2024    TushyRaw             03/19/2024        04/12/2024   PA0002465215
                                                           13:34:41
18     18FCCA0A9C60A1D3722EC5D60D360F0B0465ACDB         08/30/2024    Milfy                08/28/2024        09/17/2024   PA0002490357
                                                           14:53:49
19     3dcf75ee63abcfe78927d17a5f416c08a0b731cb         08/26/2024    Vixen                10/21/2022        11/01/2022   PA0002378075
                                                           20:00:18
20     005bf880df5aa16c3a26f63e1e0d9ec20c016199         08/13/2024    Tushy                02/04/2024        02/13/2024   PA0002454781
                                                           23:22:45
21     61096893a456453e8cc3615e1742e74628fa9dc3         08/09/2024    Milfy                05/22/2024        06/20/2024   PA0002477021
                                                           08:13:22
22     977C10DFC6D332F6D060954EC73F2D222C066A13         07/23/2024    Milfy                06/14/2023        08/22/2023   PA0002431060
                                                           19:50:47
23     65abaa901331ebd2e023ee9ca05a7406d5633d4b         07/21/2024    Tushy                07/09/2023        07/13/2023   PA0002420353
                                                           13:51:53
24     fb68849d9b46af0034a5362d6382c62eb53ac322         07/21/2024    TushyRaw             11/15/2023        12/13/2023   PA0002445430
                                                           07:22:27
25     d7ec564c234efc1deacb0c3489b57a7ee58d7d69         07/16/2024    Tushy                01/07/2024        01/16/2024   PA0002449442
                                                           19:29:41
26     703534efd18a0b44ae7344641af2c4cf18d74cfb         07/15/2024    Slayed               04/18/2023        06/09/2023   PA0002415740
                                                           11:15:51
27     10b2c63bb7b8c0a1af3066b920605352be017e54         07/12/2024    Blacked Raw          06/17/2024        07/15/2024   PA0002480596
                                                           05:25:35
28     de72a8e131808022e0e9b2a05a9be52cec6dd3fe         07/11/2024    Blacked              06/17/2024        07/15/2024   PA0002480615
                                                           18:40:47
29     c013b727bff6ade5c1fdb5348163a2944cccc466         07/07/2024    Vixen                03/03/2023        04/10/2023   PA0002405936
                                                           22:05:51
30     0144e36ebc942a96637933cec171d252d68321e7         07/04/2024    Vixen                09/01/2023        09/18/2023   PA0002431078
                                                           23:05:00
31     33a98ed004edf2dd0ea5be4cbabc6dd9dfc5b8cb         07/01/2024    Tushy                01/29/2023        03/07/2023   PA0002400310
                                                           19:08:12
32     c040f1b83cd0dcd9048171de0a38a34f9e1bce5c         07/01/2024    Blacked              01/27/2024        02/27/2024   PA0002457000
                                                           00:05:07
33     ee13d5bf9ec7c542cd8a3d0f28c4f2bd40a9d62b         06/27/2024    Blacked Raw          10/06/2022        11/01/2022   PA0002378072
                                                           22:42:21
34     dba02866e5bd0d4d5fcffb15feb41dbec49237ee         06/07/2024    Vixen                05/05/2023        05/15/2023   PA0002411290
                                                           06:14:16
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Work   Info Hash                                  UTC                 Site                Published         Registered   Registration
35     d69c05485f7a1bf9c1263183fc7214d532b01045         06/06/2024    Tushy               08/27/2023        09/18/2023   PA0002430911
                                                           07:56:22
36     e899e792490f430b6f3241c01512e56fe9027b79         06/05/2024    Tushy               06/04/2023        06/09/2023   PA0002415359
                                                           03:20:30
37     95565f562eae72b293b9cd52a278202a388cc851         06/01/2024    TushyRaw            04/09/2024        05/08/2024   PA0002470010
                                                           19:09:29
38     7662104b263c301664c14d8e5b406ad05cf54286         05/30/2024    Blacked Raw         12/15/2022        02/21/2023   PA0002400999
                                                           09:42:40
39     950f6d818e00fcdbc75ee5ffd3c56010037337f1         05/28/2024    Blacked             05/18/2024        06/18/2024   PA0002476745
                                                           01:48:46
40     09afe374f48e58ece25293f3b5711a5dbcdb5aa5         05/26/2024    Slayed              03/28/2023        06/09/2023   PA0002415741
                                                           05:23:48
41     0d2efbfd7bf2f6b226a015e36bd414da186b8d34         05/22/2024    Blacked             02/04/2023        03/07/2023   PA0002400314
                                                           21:05:46
42     aeaf023fac1652ec54fff10b490e9ed6a4c1ef20         05/20/2024    Blacked             04/08/2023        05/15/2023   PA0002411276
                                                           21:36:08
43     032b62afd43540295835e6c18757042f28bef6b2         05/14/2024    Blacked             08/27/2022        10/05/2022   PA0002373768
                                                           13:56:33
44     adba687124354af325ea4bf0f20a83e6cab9ed30         05/14/2024    Tushy               09/24/2023        10/18/2023   PA0002435287
                                                           01:51:36
45     d3e08bcfa3404120a4c65d38df5e6d7cd825c944         04/05/2024    Blacked Raw         08/08/2022        08/30/2022   PA0002367749
                                                           23:22:53
46     b5fb0ae54fff576bd02de2242e08ef43aac376d3         03/31/2024    Tushy               06/11/2023        07/13/2023   PA0002420360
                                                           14:54:50
47     45788147FC9D85BE7FAF3AD4DB90FC08787B2BFB         03/30/2024    Blacked             03/29/2024        04/10/2024   PA0002464918
                                                           20:16:57
48     df878af42de3bcf290e6cc129f9bc99ba794cd54         03/25/2024    Vixen               01/06/2023        01/27/2023   PA0002393080
                                                           17:57:52
49     8431c8ab450250f56fb7a6a0e8e7c6b5874f94e7         03/24/2024    Blacked Raw         12/18/2023        01/16/2024   PA0002449502
                                                           15:31:08
50     280f5c0dd8ab49fc624ffed0469c113e38135ad6         03/21/2024    Slayed              07/19/2022        08/10/2022   PA0002370906
                                                           16:02:42
51     5aef7111251db79273b9995fff600128bc49bee0         03/15/2024    Tushy               10/01/2023        10/18/2023   PA0002435349
                                                           21:12:50
52     bfefc15edbe310a595df4eaa20e6325aae6c5250         03/13/2024    Blacked Raw         09/21/2022        10/05/2022   PA0002373950
                                                           21:18:28
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Work   Info Hash                                  UTC                 Site                 Published         Registered   Registration
53     ea0a7a563821e15ad7e47da6c601c77b00ffd762         03/13/2024    Blacked              09/23/2023        10/17/2023   PA0002435265
                                                           08:24:14
54     a50da64f593c414e6332a2b987c875dffd297bd9         03/12/2024    Blacked Raw          10/11/2022        10/31/2022   PA0002377831
                                                           08:07:53
55     8100e9aa75632610c85fd77e67e352a7b9b36b7c         03/11/2024    Vixen                01/27/2023        04/13/2023   PA0002406898
                                                           22:51:32
56     f7f37d16c97770d5b747525418e1d212ac8d194b         03/10/2024    Blacked Raw          07/04/2022        07/22/2022   PA0002359466
                                                           11:15:15
57     aa0429ebbe9e440ceacdbd0f1472dac483e85145         03/09/2024    Vixen                03/10/2023        04/09/2023   PA0002405759
                                                           21:03:21
58     cc949852b29f79c53352cfdc867de20ab8e8733c         03/08/2024    Blacked              03/18/2023        04/07/2023   PA0002405751
                                                           23:53:59
59     fefb17cd157d5637c50ae1709d3d182d40a90263         03/06/2024    Blacked              12/31/2022        01/10/2023   PA0002389580
                                                           07:17:39
60     829337D4AE18CA97D65DEE40349ECE081C59B5CC         03/03/2024    Blacked Raw          11/20/2022        12/11/2022   PA0002384733
                                                           17:24:25
61     16E5367F5F0100A15BA0F96DEB7F128CC12F5C2C         03/03/2024    Blacked              12/17/2022        01/10/2023   PA0002389619
                                                           17:23:36
62     AF5213AEC75A817CA10089FCB8B0D42D8397AD45         03/03/2024    Milfy                11/01/2023        12/07/2023   PA0002446649
                                                           17:17:10
63     5828a53ee97f2a1b2e98473536117a236edcf5e8         02/20/2024    Slayed               11/29/2022        01/05/2023   PA0002394013
                                                           08:58:19
64     AD6CBD95E5A0F3A6959967A7D486B5F710706B43         02/07/2024    Blacked Raw          01/22/2024        02/14/2024   PA0002455065
                                                           19:22:40
65     4568A3B0B7D8CED53A1D026A605BF1F3F0E9D968         02/07/2024    Blacked Raw          02/05/2024        02/14/2024   PA0002455064
                                                           19:20:16
66     77747472C270393EF27B0CABB44B2A9DC0009C6F         02/02/2024    Blacked Raw          11/09/2020        12/09/2020   PA0002274940
                                                           19:47:06
67     4F9308D2E582A0DF065668F3552DE11C54A4525D         02/02/2024    Blacked Raw          01/01/2024        01/16/2024   PA0002449432
                                                           19:44:12
68     B4A9B47FD2D67B1A29C20B968466BE86DD29753C         02/02/2024    Blacked Raw          01/08/2024        02/14/2024   PA0002455060
                                                           19:42:25
69     2A6BA409A701737EA886D80FC860748E6AD93B21         02/02/2024    Blacked Raw          01/15/2024        02/14/2024   PA0002455063
                                                           19:41:14
70     AE5348450BCB0D1DA1B29853CDE7693A21E91DFD         02/02/2024    Blacked Raw          01/29/2024        02/14/2024   PA0002455038
                                                           19:35:55
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Work   Info Hash                                  UTC              Site                Published         Registered   Registration
71     A6CCDC620959EA4CB9F2DC3D9D5F1F3C1A1BC261         01/26/2024 Blacked             08/12/2023        10/18/2023   PA0002435264
                                                           18:22:20
72     b74f0539e457e809c451aa8774996b82bf0a0564         01/16/2024 TushyRaw            08/23/2023        09/18/2023   PA0002431079
                                                           17:12:19
